            CaseApplication
   AO 106A (08/18) 2:24-mj-03243-DUTY                  Document
                            for a Warrant by Telephone or                1 Filed
                                                          Other Reliable Electronic    06/04/24
                                                                                    Means         Page 1 of 16 Page ID #:1


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Central District
                                                    __________ Districtofof
                                                                          California
                                                                            __________

                    In the Matter of the Search of                      )
      Four (4) parcels shipped through the United States                )
                                                                        )        Case No. 2:24-MJ-03243
      Postal Service (“USPS”) currently in the custody of
      the United States Postal Inspection Service in the                )
      City of Industry, California, as further described in             )
      Attachment A                                                      )

      APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
           I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
   penalty of perjury that I have reason to believe that on the following person or property:
        See Attachment A
   located in the Central District of California, there is now concealed:
        See Attachment B
            The basis for the search under Fed. R. Crim. P. 41(c) is :
                     evidence of a crime;
                     contraband, fruits of crime, or other items illegally possessed;
                     property designed for use, intended for use, or used in committing a crime;
                     a person to be arrested or a person who is unlawfully restrained.
            The search is related to a violation of:
              Code Section                                                          Offense Description
         21 U.S.C. § 841(a)(1)          Distribution and Possession with Intent to Distribute a Controlled Substance
                                        Conspiracy to Distribute and Possess with Intent to Distribute a Controlled
         21 U.S.C. § 846                Substance
                                        Unlawful Use of a Communication Facility, Including the Mails, to Facilitate
         21 U.S.C. § 843(b)             the Distribution of a Controlled Substance
            The application is based on these facts:
                  See attached Affidavit
                     Continued on the attached sheet.
          Delayed notice of            days (give exact ending date if more than 30 days:                                   ) is requested
        under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                      /s/ Adam Girgle
                                                                                                   Applicant’s signature

                                                                            Adam Girgle, USPIS Task Force Officer
                                                                                                   Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

Date: ___________________
                                                                                                   Judge’s signature

City and state: Los Angeles, CA                                             Hon. Karen Stevenson, U.S. Magistrate Judge
                                                                                                   Printed name and title

AUSA: Joseph De Leon x7280
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                              Attachment A

PARCELS TO BE SEARCHED

       The following parcels (the “SUBJECT PARCELS”) seized from

the mail stream between May 13 and May 17, 2024, and currently

in the custody the United States Postal Inspection Service in

the City of Industry, California:

         a. A United States Postal Service (“USPS”) parcel bearing

tracking number 9534 6131 7591 4124 0410 33, consisting of a

brown cardboard box weighing 2 pounds, 9.2 ounces, addressed to

“Johnny Baca, P.O. Box 14028, Irvine, CA 92623” with a return

address of “Isabella Reyes, 3477 S. Brampton Way, Boise, ID

23606,” postmarked on May 3, 2024, in Boise, ID 23606 (“SUBJECT

PARCEL 1”);

         b. A USPS parcel bearing tracking number 9405 8301 0935

5093 0936 73, consisting of a white cardboard box weighing 1

pound, 6.5 ounces, addressed to “Johnny Baca, P.O. Box 14028,

Irvine, CA 92623,” with a return address of “Javi Autobody, 2734

SW Edgarce St., Port St. Lucie, FL 34953-2732,” postmarked on

May 3, 2024, in Port St. Lucie, FL 34953-2732 (“SUBJECT PARCEL

2”);

         c. A USPS parcel bearing tracking number 9505 5066 8486

4127 5011 49, consisting of a white cardboard envelope weighing

3 pounds, 9.8 ounces, addressed to “Johnny Baca, P.O. Box 14028,

Irvine, CA 92623,” with a return address of “Jacob Sanchez, 44

Warrington St., Providence, RI 02907-1922,” postmarked on May 6,

2024, in Providence, RI 02907-1922 (“SUBJECT PARCEL 3”); and



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       d. A USPS parcel bearing tracking number 9505 5154 0207

4127 4013 74, consisting of a brown cardboard box weighing 10

pounds, 10.4 ounces, addressed to “Johnny Baca, P.O. Box 14028,

Irvine, CA 92623,” with a return address of “Anthony Q, 118 Jay

Drive, New Castle, DE 19720,” postmarked on May 6, 2024, in New

Castle, DE 19720 (“SUBJECT PARCEL 4”).




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                              ATTACHMENT B

ITEMS TO BE SEIZED

     The items to be seized are evidence, fruits, and

instrumentalities of violations of 21 U.S.C. §§ 841(a)(1)

(distribution and possession with intent to distribute a

controlled substance), 846 (conspiracy to distribute and possess

with intent to distribute a controlled substance), and 843(b)

(unlawful use of a communication facility, including the mails,

to facilitate the distribution of a controlled substance):

     a.   Any controlled substances, including marijuana;

     b.   Currency, money orders, bank checks, or similar

monetary instruments in aggregate quantities over $1,000; and

     c.   Parcel wrappings used to conceal items described in

(a) and/or (b).




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                               AFFIDAVIT

I, Adam Girgle, being duly sworn, declare and state as follows:

                       I. PURPOSE OF AFFIDAVIT

     1.   This affidavit is made in support of an application

for a warrant to search the following parcels shipped through

the United States Postal Service (“USPS”), seized from the mail

stream between May 13 and May 17, 2024, and currently in the

possession the United States Postal Inspection Service (“USPIS”)

in the City of Industry, California (collectively, the “SUBJECT

PARCELS”):

          a.    A parcel bearing tracking number 9534 6131 7591

4124 0410 33 (“SUBJECT PARCEL 1”);

          b.    A parcel bearing tracking number 9405 8301 0935

5093 0936 73 (“SUBJECT PARCEL 2”);

          c.    A parcel bearing tracking number 9505 5066 8486

4127 5011 49 (“SUBJECT PARCEL 3”); and

          d.    A parcel bearing tracking number 9505 5154 0207

4127 4013 74 (“SUBJECT PARCEL 4”).

          e.    The SUBJECT PARCELS are described more fully in

Attachment A, which is incorporated by reference.

     2.   The requested search warrant seeks authorization to

seize evidence, fruits, and instrumentalities of violations of

21 U.S.C. §§ 841(a)(1) (distribution and possession with intent

to distribute a controlled substance), 846 (conspiracy to

distribute and possess with intent to distribute a controlled

substance), and 843(b) (unlawful use of a communication

facility, including the mails, to facilitate the distribution of


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a controlled substance) (the “SUBJECT OFFENSES”), as described

more fully in Attachment B, which is also incorporated by

reference.

     3.   The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.   This affidavit is intended to show merely that there

is sufficient probable cause for the requested warrant and does

not purport to set forth all my knowledge of or investigation

into this matter.    Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only.

                      II. BACKGROUND OF AFFIANT

     4.   I am a Task Force Officer (“TFO”) with USPIS and have

been so employed since May of 2022.       I am currently assigned as

a TFO to the Contraband Interdiction and Investigations South

Team of USPIS’s Los Angeles Division, which is responsible for

investigating drug trafficking violations involving the United

States Mail.   As such, I am an “investigative or law enforcement

officer” of the United States within the meaning of Title 18,

United States Code, Section 2510(7); that is, an officer of the

United States empowered by law to conduct investigations of, and

to make arrests for, offenses enumerated in Title 18, United

States Code, Section 2516.     Prior to being assigned as a TFO

with the USPIS, I was a full-time, sworn law enforcement officer

with the El Monte Police Department.       I have been a sworn law

enforcement officer since May 2001.       I am a Police Officer


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within the meaning of Section 830.1 of the California Penal

Code.     Prior to being assigned as a TFO with USPIS, I was

assigned as a narcotics detective with the El Monte Police

Department.     I have approximately 15 years of investigative

experience.

     5.      I have received training and have experience

investigating violations of state and federal narcotics and

money laundering laws, including, but not limited to Title 21,

United States Code, Sections 841, 846, 952, 959, and 963 and

Title 18, United States Code, Section 1956(a).         I have been

involved in various electronic surveillance methods including

state and federal wiretap investigations, the debriefing of

informants and witnesses, as well as others who have knowledge

of the manufacturing, distribution, transportation, storage, and

importation of controlled substances and the laundering of drug

proceeds.

     6.      I have participated in many aspects of drug

investigations, including investigations into the smuggling of

illegal drugs, money laundering, and extortion related to drug

trafficking.     I am familiar with narcotics traffickers’ methods

of operation, including the manufacturing, storage,

transportation, and distribution of narcotics, the collection of

money that represents the proceeds of narcotics trafficking, and

money laundering.     I am also familiar with the way narcotics

traffickers transport and distribute narcotics in areas they

control.     I am familiar with how drug traffickers utilize

counter-surveillance techniques to avoid detection by law


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enforcement.   I also know that drug traffickers often

communicate with their drug-trafficking associates using

cellular telephones.    I have become aware that more

sophisticated drug trafficking networks now utilize the dark

web, e-mail, Blackberry devices, Voice over Internet Protocol,

video chat, internet messaging services, and social networking

sites to communicate with one another.       During drug-related

communications, traffickers often use coded or cryptic language

to disguise the drug-related nature of their conversations.

     7.   I am also a canine handler with a narcotics detection

canine.   My police canine partner “Rico” is a dual-purpose

canine, meaning that he is certified in apprehension and

narcotics detection.    My police canine partner Rico attended the

Adlerhorst Police Canine Handler course in August of 2016.            Rico

and I attended the Adlerhorst Canine Narcotics Detection course

in November of 2017.    During this course, my police canine Rico

received 240 hours of instruction in the detection of the odor

of marijuana, methamphetamine, cocaine, and heroin.         My police

canine partner Rico and I receive yearly certification from the

Los Angeles County Police Canine Association in apprehension and

narcotics detection.    I am familiar and knowledgeable in the

behaviors my police canine partner Rico engages in when he

detects the presence of the odor of illegal narcotics.          I

conduct continual training with my police canine partner Rico by

hiding various narcotics in different locations such as

buildings, vehicles, bags, parcels and in open areas.          This

training includes proofing canine Rico on odors such as plastic,


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boxes, latex, tape, metal, currency (circulated and

uncirculated), parcel packaging material, glass pipes and food.

I also proof my police canine partner Rico of my human odor.

This training is on-going and continual.

                   III. SUMMARY OF PROBABLE CAUSE

     8.    Between May 13, 2024, and May 17, 2024, USPIS

identified the SUBJECT PARCELS as bearing certain

characteristics common to packages containing contraband.          For

example, all of the SUBJECT PARCELS were heavily, and seemingly

excessively, taped shut, and bore sender and recipient names

that do not appear to be associated with the sender and

recipient addresses listed on the SUBJECT PARCELS.         USPIS

detained the SUBJECT PARCELS for further investigation.

     9.    On May 20, 2024, my trained drug detection dog, Rico,

alerted to the exterior of each of the SUBJECT PARCELS,

indicating the presence of drugs or other items, such as the

proceeds of drug sales that have been contaminated by drugs,

inside the SUBJECT PARCELS.

                   IV. STATEMENT OF PROBABLE CAUSE

     A.    Background on Use of Mails for Drug Trafficking

     10.   Based on my training and experience as a Postal

Inspector, and the experiences related to me by fellow Postal

Inspectors who specialize in drug investigations, I know the

following:

           a.   Los Angeles is a major source area for drugs.

Drugs are frequently transported from Los Angeles through the

United States Mail, and the proceeds from drug sales are


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frequently returned to Los Angeles through the mail.           These

proceeds are generally in the form of cash, money orders, bank

checks, or similar monetary instruments in an amount over

$1,000.00.

           b.    Drug traffickers and drug-trafficking

organizations often use the U.S. Mail to transport controlled

substances and proceeds from the sale of illegal narcotics

throughout the United States and its territories.          Drug

trafficking intelligence gained over the years has shown that

drug traffickers utilize USPS for shipping controlled substances

such as marijuana, cocaine, heroin, fentanyl, and

methamphetamine.

           c.    Narcotics proceeds often contain the odor of

narcotics because they have been contaminated with or associated

with the odor of one or more controlled substances.

           d.    Drug distributors often use USPS Priority Mail

Express, which is the USPS overnight/next day delivery mail

product, or Priority Mail Service, which is the USPS two-to-

three-day delivery mail product, to transport or distribute

controlled substances and proceeds from the sales of controlled

substances.

           e.    Priority Mail Express is guaranteed to be

delivered on a set date and time, usually overnight (the

deadline is determined at the time of mailing).          The customer

receives a receipt with this guaranteed information and can opt

for a signature requirement when the parcel is delivered.

Customers can track the parcel online by its distinct Priority


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Mail Express tracking number.       The weight of the parcel and the

distance traveled are the two main factors in setting the price.

Priority Mail Express costs more than Priority Mail.           Businesses

using Priority Mail Express typically have a business or

corporate account visible on the mailing label, which covers the

cost of the mailing, in contrast to the drug distributor who

will pay at the counter with cash or a credit card.          Drug

distributors use the Priority Mail Express delivery service

because of its speed, reliability, and the ability to track the

parcel’s progress to delivery.

           f.    Priority Mail has a delivery service standard of

two to four business days but is not guaranteed.          Priority Mail

is a less expensive alternative to Priority Mail Express, but

still provides the ability to track a parcel.         Drug distributors

use the Priority Mail delivery service because it provides them

more time for travel between states if they decide to follow

their shipments to their destination for distribution.           Also, by

adding delivery confirmation to a Priority Mail parcel, drug

traffickers have the ability to track the parcel’s progress to

the intended delivery point, as if the parcel had been mailed

using the Priority Mail 2-Day Service.

           g.    USPS created electronic postage as a service for

frequent mailers and businesses who prefer printing address

labels and purchasing postage from their residence or business.

Drug traffickers may sometimes create electronic postage

accounts as a means of giving legitimate appearance to their

drug mailings.    In these cases, they typically create the


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accounts using fictious account information and often provide

pre-paid credit cards or cryptocurrency as a means of payment,

which are difficult to track.       The postage labels are

printed/typed until typical drug-related mailing labels, which

are routinely handwritten.

              h.   Drug traffickers often use fictitious or

incomplete names and/or addresses to conceal their identities

from law enforcement officers investigating these types of

cases.      Indeed, it is my experience that to the extent real

addresses are ever used, it is only to lend a legitimate

appearance to the parcel.

      11.     The following indicia suggest that a parcel may

contain drugs or drug distribution proceeds:

              a.   The parcel is contained in a Large Flat Rate

cardboard box;

              b.   The parcel bears a handwritten or typed label,

whether USPS Express Mail or Priority Mail;

              c.   The handwritten or typed label on the parcel does

not contain a business account number;

              d.   The seams of the parcel are all taped or glued

shut;

              e.   The parcel emits an odor of a cleaning agent or

adhesive or spray foam that can be detected by a human;

              f.   Multiple parcels are mailed by the same

individual, on the same day, from different locations; and

              g.   Drug traffickers often use fictitious or

incomplete names and addresses in an effort to conceal their


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identities from law enforcement officers investigating these

types of cases.    To the extent that real addresses are ever

used, it is only to lend a legitimate appearance to the parcel

and is almost always paired with a false name.

      12.   Parcels exhibiting such indicia are the subject of

further investigation, which may include verification of the

addressee and return addresses.

      B.    Initial Investigation of the SUBJECT PARCELS

      13.   Between May 13 and May 17, 2024, as part of an USPIS

operation designed to identify suspicious parcels being

processed at USPS facilities, I observed the SUBJECT PARCELS at

USPS’s City of Industry Process and Distribution Center and

identified them as bearing suspicious characteristics that, in

my training and experience investigating drug-distribution

offenses using the mails, I know are common to packages

containing narcotics.     All of the SUBJECT PARCELS are USPS

Priority Mail Express parcels shipped using USPS Priority Mail

Express 1-Day service.      Specifically, I observed the following

suspicious characteristics for each of the SUBJECT PARCELS:

            a.    The seams of SUBJECT PARCEL 1 are heavily, and

seemingly excessively, taped shut.        It does not bear any USPS

business account number.      I queried the CLEAR 1 database for the

sender information listed on SUBJECT PARCEL 1, “Isabella Reyes,

3477 S. Brampton Way, Boise, ID 23606”; this query indicated


      1CLEAR is a public information database used by law
enforcement that provides names, addresses, telephone numbers,
and other identifying information.

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that this S. Brampton Way address is genuine but that the

sender’s name, “Isabella Reyes,” is not associated with this

sender address.    I also queried CLEAR for the recipient

information listed on SUBJECT PARCEL 1, “Johnny Baca, P.O. Box

14028, Irvine, CA 92623”; this query indicated that this P.O.

box address is genuine but that the recipient’s name, “Johnny

Baca,” is not associated with that recipient address.

           b.     The seams of SUBJECT PARCEL 2 are heavily, and

seemingly excessively, taped shut.        It does not bear any USPS

business account number.      I queried the CLEAR database for the

sender information listed on SUBJECT PARCEL 2, “Javi Autobody,

2734 SW Edgarce St., Port St. Lucie, FL 34953-2732”; this query

indicated that this SW Edgarce St. address is genuine but that

the sender’s name, “Javi Autobody,” is not associated with this

sender address.    I also queried CLEAR for the recipient

information listed on SUBJECT PARCEL 2, “Johnny Baca, P.O. Box

14028, Irvine, CA 92623”; this query indicated that this P.O.

box address is genuine but that the recipient’s name, “Johnny

Baca,” is not associated with that recipient address.

           c.     The seams of SUBJECT PARCEL 3 are heavily, and

seemingly excessively, taped shut.        It does not bear any USPS

business account number.      I queried the CLEAR database for the

sender information listed on SUBJECT PARCEL 3, “Jacob Sanchez,

44 Warrington St., Providence, RI 02907-1922”; this query

indicated that this Warrington St. address is genuine but that

the sender’s name, “Jacob Sanchez,” is not associated with this

sender address.    I also queried CLEAR for the recipient


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information listed on SUBJECT PARCEL 3, “Johnny Baca, P.O. Box

14028, Irvine, CA 92623”; this query indicated that this P.O.

box address is genuine but that the recipient’s name, “Johnny

Baca,” is not associated with that recipient address.

            d.   The seams of SUBJECT PARCEL 4 are heavily, and

seemingly excessively, taped shut.        It does not bear any USPS

business account number.      I queried the CLEAR database for the

sender information listed on SUBJECT PARCEL 4, “Anthony Q, 118

Jay Drive, New Castle, DE 19720”; this query indicated that this

Jay Drive address is genuine but that the sender’s name,

“Anthony Q,” is not associated with this sender address.           I also

queried CLEAR for the recipient information listed on SUBJECT

PARCEL 4, “Johnny Baca, P.O. Box 14028, Irvine, CA 92623”; this

query indicated that this P.O. box address is genuine but that

the recipient’s name, “Johnny Baca,” is not associated with that

recipient address.

      C.    A Drug-Detection Dog Alerts to the SUBJECT PARCELS

      14.   On May 20, 2024, my trained drug-detection dog, Rico,

examined the exterior of the SUBJECT PARCELS.

      15.   Rico positively alerted to each of the SUBJECT PARCELS

separately, indicating the presence of drugs or other items,

such as the proceeds from the sale of drugs that have been

recently contaminated by or associated with the odor of drugs.

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                              V. CONCLUSION

      16.   For the reasons above, there is probable cause to

believe that SUBJECT PARCELS, as described in Attachment A,

contain evidence, fruits, and instrumentalities of violations of

the SUBJECT OFFENSES, as described in Attachment B.



Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this ____ day of
June, 2024.



HON. KAREN STEVENSON
UNITED STATES MAGISTRATE JUDGE




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